Case: 1:18-cv-03335 Document #: 256 Filed: 07/17/24 Page 1 of 2 PageID #:4145

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Ariel Gomez
                                  Plaintiff,
v.                                                    Case No.: 1:18−cv−03335
                                                      Honorable Charles P. Kocoras
Reynaldo Guevara, et al.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 17, 2024:


         MINUTE entry before the Honorable Jeannice W. Appenteng: For the reasons
stated below, defendants' motion to compel Lake County, Indiana State's Attorney's Office
to comply with defendant officers' subpoena [247] is denied. On May 10, 2018, plaintiff
filed this lawsuit alleging he was wrongfully convicted of a murder that occurred June 13,
1997. After many extensions, fact discovery was ordered to close on December 30, 2022
[189], and kept open until at least May 2, 2023 for the limited purpose of completing two
depositions [201]. On March 26, 2024, defendants moved to reopen fact discovery to issue
third−party subpoenas regarding, inter alia, charges brought against plaintiff by the Lake
County State's Attorney's Office ("LCSAO") for an alleged November 14, 2023 attempted
murder of his ex−wife and her daughter. ([232] at 2−3.) Defendants argued the discovery
is needed as 404(b) evidence to demonstrate motive regarding the 1997 murder, to
undermine plaintiff's credibility or to impeach him, and to evaluate plaintiff's damages.
(See [232] at 3, 9−10; see also [247] at 6.) Defendants further argued that because plaintiff
was evading arrest, this discovery was necessary to show plaintiff could not continue this
action under the fugitive disentitlement doctrine, which this Court acknowledges allows
the district court to dismiss a civil action if the party seeking relief has become a fugitive
from justice. (See [232] at 3, 10.) The Court granted defendants' motion to reopen
discovery "for the limited purpose of issuing record subpoenas related to information
defendants discovered only on or after 2/17/2024." [233] Defendants issued subpoenas to
LCSAO seeking documents about the November 14, 2023 attempted murder, but LCSAO
withheld such records because the case is still pending with investigations ongoing. ([247]
at 2, 3.) Defendants then moved to compel LCSAO's response [247]. Rule 45 governs
subpoenas issued to non−parties, with the scope "as broad as what is otherwise permitted
under" the discovery rules. In re: Subpoena Upon Nejame Law, PA., No. 16−cv−4619,
2016 WL 3125055, at *2 (N.D. Ill. June 3, 2016). Accordingly, through a Rule 45
subpoena, parties may seek discovery "regarding any nonprivileged matter that is relevant
to any party's claim or defense and proportional to the needs of the case." Fed. R. Civ. P.
26(b)(1). The district court has broad discretion to resolve discovery disputes, and a
motion to compel discovery is handled at the discretion of the trial court. See, e.g.,
Jackson v. City of Chicago, No. 03 C 8289, 2006 WL 2224052, at *3 (N.D. Ill. July 31,
2006). Here, defendants' reasons for wanting the November 2023 attempted murder case
file − 404(b) evidence, impeachment, and damages − at best have a tenuous link to
Case: 1:18-cv-03335 Document #: 256 Filed: 07/17/24 Page 2 of 2 PageID #:4146

relevance to the June 1997 murder, plaintiff's related allegations of wrongful conviction,
and any possible defense defendants could assert, particularly because the material relates
to charged conduct for which plaintiff has not been convicted. Moreover, the Court finds
that the LCSAO's entire November 2023 attempted murder case file is not proportional to
the needs of the case. Defendants seemingly have information from public records to
achieve the ends they seek at trial (although, whether they can use it is an issue for the
District Judge to decide), and they have the information needed for the fugitive
disentitlement doctrine − i.e., plaintiff has been charged and is failing to appear. And, for
all these reasons, the Court need not reach the issues of privilege raised in defendant's
motion. Accordingly, the Court denies defendants' motion to compel [247]. The limited
fact discovery is now closed. Given expert discovery is also closed [235], all matters
relating to the referral of this action are concluded; the referral is terminated. Mailed
notice. (kl, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
